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                      IN THE UNITED STATES DISTRICT COURT
                       FOR THE MIDDLE DISTRICT OF FLORIDA
                             JACKSONVILLE DIVISION


STEPAHNIE THORNTON, on behalf of    )
herself and others similarly situated,
                                    )
                                    )
      Plaintiff,                    )
                                    )
v.                                  )             Civil Action No.:
                                    )
DOLGENCORP, LLC                     )
                                    )
      Defendant.                    )
____________________________________)

                                       COMPLAINT

        COMES NOW the Plaintiff, STEPAHNIE THORNTON (“PLAINTIFF”), on behalf of

herself and others similarly situated, and files this Complaint against DEFENDANT,

DOLGENCORP, LLC (“DEFENDANT”) respectfully stating unto the Court the following:

                               GENERAL ALLEGATIONS

   1.     This is a cause of action to recover compensatory and liquidated damages, attorney

          fees, and other relief from DEFENDANT for violations of the Fair Labor Standards

          Act (“FLSA”).

   2.     At all material times, PLAINTIFF was a citizen and resident of Florida.

   3.     At all material times, DEFENDANT was a Kentucky corporation with a retail store in

          Sanderson, Florida, which is where PLAINTIFF was employed at all relevant times.

                                      BACKGROUND

   4.     PLAINTIFF brings this action to require DEFENDANT to pay back wages owed to

          PLAINTIFF, which DEFENDANT failed to pay in violation of the Fair Labor

          Standards Act of 1938, as amended, 29 U.S.C. §§ 201, et seq.
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 5.    At all relevant times, DEFENDANT acted through its officers, agents, servants and

       employees.

 6.    At all relevant times, DEFENDANT had annual gross sales in excess of $500,000.00

       and two or more employees who regularly handled goods that moved in or were

       produced for interstate commerce.

 7.    At all relevant times, DEFENDANT was an enterprise engaged in commerce as defined

       at 29 U.S.C. § 203.

 8.    Jurisdiction is conferred on this Court by 28 U.S.C. §§ 1331, 1337 and by 29 U.S.C. §

       216.

 9.    In or around September 2019, PLAINTIFF was hired to work as a sales associate for

       DEFENDANT and she was paid on an hourly basis. The proposed collective class of

       individuals consists of employees of DEFENDANT, who like PLAINTIFF were hourly

       workers, including cashiers and sales associates that performed work off the clock for

       which they received no compensation.

 10.   Throughout her employment, PLAINTIFF routinely worked through her breaks, stayed

       late, and performed work off the clock at the instruction and knowledge of her

       supervisor, “Miss Sue”. The similarly situated employees are also believed to have

       performed work off the clock at the direction of DEFENDANT in the store where

       PLAINTIFF worked.

 11.   No additional compensation was ever paid to PLAINTIFF and similarly situated

       individuals who also worked through their breaks and worked off the clock.

 12.   The FLSA requires an employer to pay its employees at a rate of at least minimum

       wage for all hours worked and also requires an employer to pay its employees time and



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       one-half when they work more than 40 hours per week.

 13.   Despite working at the direction and knowledge of DEFENDANT, PLAINTIFF and

       those similarly situated were not paid at all for the hours they worked off the clock.

 14.   Upon information and belief, DEFENDANT has, since the beginning of PLAINTIFF’S

       employment, willingly, deliberately and intentionally refused to pay PLAINTIFF and

       those similarly situated for time actually worked and time and one-half for overtime

       hours she worked.

 15.   PLAINTIFF and those similarly situated are therefore, owed compensation for time

       actually worked but not paid, and back wages by DEFENDANT, who willingly and

       knowingly withheld those wages.

                               COUNT I
             VIOLATION OF THE FAIR LABOR STANDARDS ACT

 16.   The General Allegations and Background above are hereby incorporated by reference

       as though fully set forth herein.

 17.   DEFENDANT regularly engages in commerce and its employees, including

       PLAINTIFF and those similarly situated, handled and used materials, which have

       moved in interstate commerce.

 18.   At all relevant times, DEFENDANT was an employer within the meaning of the Fair

       Labor Standards Act of 1938, as amended, 29 U.S.C. §§ 201, et seq. and is subject to

       the provisions of the Act.

 19.   PLAINTIFF and those similarly situated, at all relevant times were non-exempt

       employees of DEFENDANT, as defined by the Fair Labor Standards Act of 1938, as

       amended, 29 U.S.C. §§ 201, et seq. who performed work off the clock for which they

       received no compensation.


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 20.   During their employment with DEFENDANT, PLAINTIFF and those similarly

       situated performed work for which they were not compensated in violation of the

       provisions of the Fair Labor Standards Act of 1938, as amended, 29 U.S.C. §§ 201, et

       seq. More specifically, DEFENDANT violated the minimum wage provision of the

       FLSA by failing to pay PLAINTIFF and those similarly situated at least minimum wage

       for all the time they worked. DEFENDANT also violated the overtime provisions of

       the FLSA by failing to pay PLAINTIFF and those similarly situated time and one-half

       when they worked more than 40 hours per week.

 21.   Upon information and belief, DEFENDANT’S pay system was unilaterally imposed

       upon PLAINTIFF and those similarly situated by DEFENDANT.

 22.   DEFENDANT’S failure to compensate PLAINTIFF and those similarly situated for all

       compensable hours violates the minimum wage provisions of the FLSA and the

       regulations thereunder.

 23.   DEFENDANT’S failures to compensate PLAINTIFF and those similarly situated for

       all compensable hours and to pay them time and one-half for their overtime were willful

       and knowing violations of the Acts.

 24.   As a result of DEFENDANT’S willful and knowing failure to properly compensate

       PLAINTIFF and those similarly situated, they have suffered substantial delay in receipt

       of wages owed and damages.

 25.   Pursuant to 29 U.S.C. §§206, 207 and 216, DEFENDANT owes PLAINTIFF and those

       similarly situated compensation for unpaid work, time and one-half pay for their unpaid

       overtime, and an additional equal amount as liquidated damages, together with an

       additional sum for attorney’s fees and costs.



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   26.      All conditions precedent to maintaining this action have occurred or otherwise been

            waived.

         WHEREFORE, PLAINTIFF demands judgment against DEFENDANT and respectfully

prays the Court that PLAINTIFF and those similarly situated will recover unpaid wages, unpaid

overtime, liquidated damages, pre- and post-judgment interest, attorney fees, and other relief by

reason of DEFENDANT’S violations of the FLSA; for a trial by jury on all issues so triable; for

an Order enjoining DEFENDANT from continuing its practice of having employees perform work

“off the clock” and/or failing to pay employees for time actually worked, and, for such other and

further relief as the Court may deem just and proper.

                                        COUNT II
                                   BREACH OF CONTRACT

   27.      The General Allegations and Background above are hereby incorporated by reference

            as though fully set forth herein.

   28.      PLAINTIFF and DEFENDANT entered into an agreement pursuant to which

            PLAINTIFF was to be paid $8.43 per hour for each hour she worked.

   29.      PLAINTIFF performed as agreed pursuant to her agreement with DEFENDANT but

            DEFENDANT breached the agreement by not paying PLAINTIFF for all the time she

            worked.

   30.      As a result of DEFENDANT’S failure to pay PLAINTIFF, she has suffered delay in

            receipt of her wages and has been required to retain an attorney to help her get her pay

            and DEFENDANT is required to pay PLAINTIFF’S attorney’s fees pursuant to Florida

            Statute.

         WHEREFORE, PLAINTIFF demands judgment against DEFENDANT and respectfully

prays the Court that PLAINTIFF will recover unpaid wages, nominal relief, pre- and post-


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judgment interest, attorney fees, and other relief by reason of DEFENDANT’S violations of the

FLSA; for a trial by jury on all issues so triable; for an Order enjoining DEFENDANT from

continuing its practice of having employees perform work “off the clock” and/or failing to pay

employees for time actually worked, and, for such other and further relief as the Court may deem

just and proper.




Dated: November 24, 2020

                                            Respectfully submitted,

                                            THE LAW OFFICE OF MATTHEW BIRK



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